 

Case 1:17-cv-01420-CM Document7 Filed 09/11/17 Page 8 of 14

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

LOWVO1IFIO-CM

: as (Include case number if one has been
Write the full name of each plaintiff.

assigned)
S col Hi [ |

 

 

 

 

 

-against- AMENDED
he CTY of WEw York COMPLAINT
MEW York C. Z ‘7 LY Pole D.EPRT. Do you want a jury trial
C] Yes No,
iehice officers TJshn Does AN » 3
4 + wens 1
C6a6T O*FI1CELS 4: C. = nm
Write the full name of each defendant. If you need more ws 78
space, please write “see attached” in the space above and we Oe
attach an additional sheet of paper with the full list of , "
names. The names listed above must be identical to those =

 

contained in Section Il.

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of

an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

j

 

 

 

 

 

 

i USDG SDNY

|| DOCUMENT

| ELECTRONICALLY FILED

| DOC #: << ss

| DATE FILED: lofalls
Rev. 2/10/17 :

 

 

 

 

 

 

7,
r
 

: Case 1:17-cv-01420-CM Document7 Filed 09/11/17 Page 9 of 14

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
[) Federal Question
(kl Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?

 

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , Se orn Et; / / , is a citizen of the State of

(Plaintiff's name)

STATEN LSland Ny.

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
 

Case 1:17-cv-01420-CM Document 7 Filed 09/11/17 Page 10 of 14

If the defendant is an individual:

The defendant, So at Ue , / / , is a citizen of the State of
(Defendant’s name)
Staten IS lad nf

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

If the defendant is a corporation:

The defendant, Se opt, /4/ / , is incorporated under the laws of
the State of 77, Y.

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

If more than one defendant is named in the complaint, attach additional pages providing
‘information for each additional defendant.

II. PARTIES

A, Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

SeetTo BOIAA All

First Name Middle Initial Last Name

BIG nome!” First. $L. Sed Aouc

Street Address

 

ST. De. JO3/4#

 

 

County, City State Zip Code
n ee - “, a

213- Bb S- BOS

Telephone Number Email Address (if available)

Page 3
Case 1:17-cv-01420-CM Document 7 Filed 09/11/17 Page 11 of 14

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Seo&lt Hil / wee

First Name Last Name

a

 

Current Job Title (or other iden ying information)

BIS NOWIE. Bist. Fl. Site dot s.Lt. 77. ”

Current Work Address (or other address where defendant may be served)

BIE Mame (We, Bich torta LIS. 163/4

 

 

 

 

 

County, City State Zip Code
Defendant 2:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City . State Zip Code
Defendant 3:

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Page 4
 

Case 1:17-cv-01420-CM Document 7 Filed 09/11/17 Page 12 of 14

Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM

Place(s) of occurrence:

 

Date(s) of occurrence:

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

On LIAL i WHE ALESSPEA , tid tn TRE
CawKt hows, TAE COMECTIONS OfEVCErS
b6AT. ME VP f 3vbhSTHnA TleanmATizEed Fo
TE sTachiich,, any BLQLT.” UML AS Pulled 2cT_oF

 

Dy by my fart why [E. 1 gre ahh nee punched
JME _iN Dy STOMBL LA, kithid We uA APL LE CLA
While 1 WHS oH BE FLCOLH And f WAS cavshing
UP. blood. Aad AHL This Ady, ay. Lilecl}
tH, , And bACf sTrLl Awpel S 4nd ALY. Lib. >.
fod! baw haighT MALE 5 whEf1 i SLEEP, And
hE, SEE CBP ( SET NEVIS.

 

 

Page 5
 

Case 1:17-cv-01420-CM Document7 Filed 09/11/17 Page 13 of 14

Or] Le 14 [ lb utes pulesstad And praweghT TO The owen
CoAT fawsE _ esters The CaHwT AFLCECS be AT: LUT uf
DEY PULA hitad outta 0Y CighT AEM, wh 5L, -
PRacuhed MEA wy bAeb, hand, STomsALA, AillEhD ME ov17O
DE teor binceld an ny herd, (bbés, Plled my hYyny
Att wwith Thé hand otk en myLiST wy Un [afped
OL OF Wad, WAY baGel?, Shp lb, aod. HN SUEUEA
ve chad TAM ATIZZEA To my sTEmbche, i bLttS

Cout EL 2 Lf blhotd . white i ued loli. hed YP and UN,
{LAS felésed Lhe hE ABES, avid < still do, and
INJURIES: Ly GhT WIKIES, And i IET NWSE WAEN 1 BEG,

If you were Soke: result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

DS bétid, bnéel4, bight lost, A.34ht AOL,
sTamAch, (thbs, hte, STI hull S«

and hey. didac TAKE mE To We ehiate. of Hes l+|

whet ich, L Ae) FO SES A, DE ABCTELL AE Ai. Abr Lge Te

EXZAMON WUE: he Bld Mc T2 Qa TO ThE. fos Tival whet /
tv. REUEF GOT CUT

State briefly what money damages or other relief you want the court to order.

ti millovrt_, 24,000,000. 00.

 

 

 

 

Page 6
 

—. F/a7/17
, fel evol4o0-cm
Te The PEOFIE of The DisSTheT Court;
 SseolT HiIl is writting. Yee T0.givE You AN
ideal of Lud] 17M Qa ive Thlough AAPA THE
dard? wes benten uf? or] [fi4llé, ia THE bie
oF The cour NousE, by he eel § bY ThE conxT
officers. From That day until flows my body
nd The whole Fight side of ny heady (5 in Paine
Pid i Gl alot Of PANE on wT) chiles (YT sidlé.
when | wAlhy ic TWA A whb@ blocs
Wi ThewT having Te STEP, BELHOSE « STAIT FEEIn
Paine ia 11 body and onthe whale ght Side
o¥ my body. 7 STAT Lcoughtiing JP FlaviAs ;
(nua Srl gfebbs ot blood, ArnA soMeEHMES
throveh uP. wher * wilh hom with bg s
an my hand's and held a big ia my wright hand,
it feels (he its Polling my Vaht fr ef Fmy
body: And WhEN i homE. 1 hAVE t2 WAP ONT.
AUP, bécHuse i STAT cought¥irg vf Fhvid3
Bnd ltt€ glolhs of blood, When | GAT, hPVE
10 beep 4 uP EXT TA 1G 62 AUE 7 STAT”
tboehing And eough*hing v7? Flevids and
omell globbs of bleed _ pnd when © sitcown
72 wHteh Teves AVE TO Sit With A eo NEXT
To mEenecnuse tll sta/T enugh thing up? Flour ds
pnd blood.
|

  
  
   
 
 
  
   
 
    
 
 
  
  

Ad ws Tald ThpT weld be l4E Ths RoI-TAE ~
AEST OF my 11FE RAT TAETES. NoTH ng ThAT EAN
BEST he pé rnd Pray forthe bes
fod The harddesy: fais when Yoo lovee.
6r SOME OWE. YOO $ GE A099'S You and AAAI TVEY. -
wo You bE in ALT ef PAE pnd tbo dential
Me TEMTAEM. or when You ly dow! andk TY 72.
0070S IEEP at bight, and wht you la on
You'll baie, Yoo sTomrch of Yours ‘ACS bR ASE
~ 00-b6_in ACL of A406 Ard You# STA TAoLg hg.
OP Flow And g/obh's af blood, and The ~~
 WensT PU>©lot it Allis when YoucanT |]
WOR AE [ov ot hAVE SEX, bE i! RES
a MAE Your Abe TO (ASS ECT FIONT TIE PAE |
Sa what dots flay Te God anh Jésus crisT..
0 YN Mot ard 6 AWE Te Tovels 21 WT TALE
a AEA Ling brwdS FON ThE hE AES To heal
ME, yd JEenve Tithe brnd'’s.. and bas
AER You have any.gvesyions, feel WEE po
CAL ME or uli elt mE, betes ni FE
a AWB -666-8806, pddres, SeatT Hl
RF 6 nome” First Fle 3 AE doar
| STRATEN 2slank n.¥% 1603/4. eo

 

 

 

 

  
 

 

 

 
 

Case 1:17-cv-01420-CM Document 7 Filed 09/11/17 Page 14 of 14

V. PLAINTIFE’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1).the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have :
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

L agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

_Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

9 /23//2 Seg li lll.

 

 

 

 

Dated Plaintiff's Signature
ScoTl GB LLL
First Name _ Middle Initial Last Name
a WS JLMOIKE £50 Ff l side Adore
Street Address
Bichaond, SL. phy. 1023/4
County, City State Zip Code

 

tT —_

Telephone Number

BL k- 68° BIOS

Email Address (if available)

Ihave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
OYes Jk No

lf you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
